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  7   dba AVITUS GROUP
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 11
                           UNITED STATES DISTRICT COURT
 12
            CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
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 14
      DE’VON WALKER, on behalf of himself         Case No.:
 15   and others similarly situated,
                                                  NOTICE OF RELATED CASES
 16               Plaintiff,                      PURSUANT TO LOCAL RULE
                                                  83-1.3
 17         v.
                                                  [28 U.S.C. § 1331 (FEDERAL
 18   SCOOBEEZ, a California Corporation;         QUESTION JURISDICTION]
      AVITUS, INC., a Montana corporation;
 19   AVITUS GROUP., an unknown business          [Filed concurrently with Petition and
      entity; SCOOBEEZ, INC. CORP LA., a          Notice of Removal; Civil Cover
 20   business entity of unknown form; and        Sheet; Corporate Disclosure
      DOES 1 through 50, inclusive,               Statement; and Notice of Interested
 21                                               Parties]
                  Defendants.
 22
                                                  Complaint Filed: May 29, 2018
 23                                               Trial Date:      None Set
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         NOTICE OF RELATED CASES PURSUANT TO LOCAL RULE 83-1.3
Case 2:18-cv-06108-AB-RAO Document 5 Filed 07/13/18 Page 2 of 2 Page ID #:64


  1   TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
  2   DISTRICT OF CALIFORNIA, AND TO PLAINTIFF AND HIS COUNSEL
  3   OF RECORD:
  4         NOTICE IS HEREBY GIVEN THAT, pursuant to Local Rule 83-1.3.1,
  5   there are no related cases previously filed or currently pending before the United
  6   States District Court for the Central District of California.
  7
  8   DATED: July 13, 2018              LECLAIRRYAN LLP
  9
 10                                     By:
                                        Rafael G. Nendel-Flores, Esq.
 11                                     Guillermo M. Tello, Esq.
                                        Attorney for Defendants
 12                                     SCOOBEEZ AND AVITUS, INC.
                                        dba AVITUS GROUP
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         NOTICE OF RELATED CASES PURSUANT TO LOCAL RULE 83-1.3
